         Case 18-50214-rlj11           Doc 2465 Filed 01/28/22 Entered 01/28/22 12:33:00                                  Desc
                                           Main Document    Page 1 of 4




The following constitutes the ruling of the court and has the force and effect therein described.



Signed January 27, 2022
                                           United States Bankruptcy Judge
______________________________________________________________________




                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                           LUBBOCK DIVISION

           IN RE:                                                             §
                                                                              §
           REAGOR-DYKES MOTORS, LP, et al. 1                                  § Case No. 18-50214-rlj-11
                                                                              § Jointly Administered
                                      Debtors.                                §

                ORDER GRANTING REAGOR-DYKES AUTO GROUP CREDITORS
             LIQUIDATING TRUST’S SEVENTH OMNIBUS OBJECTION TO CLAIMS

             This matter comes before this Court on the Reagor-Dykes Auto Group Creditors Liquidating Trust’s

     Seventh Omnibus Objection to Claims (the “Objection”) filed by Reagor-Dykes Auto Group Creditors

     Trust (the “Trust”), successor in interest to Reagor-Dykes Motors, LP and its debtor affiliates

     (collectively, “Reagor-Dykes” or the “Debtors”), in the above-captioned chapter 11 cases (the

     “Chapter 11 Cases”).




     1
       The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto
     Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-
     50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC (Case No. 18-50322), Reagor-Dykes II LLC (Case No.
     18-50323) and Reagor Auto Mall I LLC (Case No. 18-50325).


     ORDER GRANTING SEVENTH OMNIBUS OBJECTION TO CLAIMS                                                                          1
     4872-0509-4410.1
 Case 18-50214-rlj11          Doc 2465 Filed 01/28/22 Entered 01/28/22 12:33:00                   Desc
                                  Main Document    Page 2 of 4


       It appearing that this Court has jurisdiction to grant the relief sought pursuant to the Objection

in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the relief requested being a core

proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28

U.S.C, §§ 1408 and 1409; and due and proper notice of the Objection having been provided, and it

appearing that no other or further notice need be provided; and the Court having reviewed the

Objection; and no responses having been received by any claimant listed on the attached Exhibit “A;”

and the Court having determined that the legal and factual bases set forth in the Objection establish just

cause for the relief granted herein; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor; it is hereby ORDERED that:

        1.         The Objection is SUSTAINED for the reasons set forth in the Objection;

        2.         Each Claim listed on Exhibit “A” is bifurcated as a matter of law into a secured and

        an unsecured deficiency claim portion, with the secured amount of each Claim fixed at $0.00

        and the unsecured deficiency claim amount fixed at $0.00 and therefore each of the Claims

        listed on Exhibit A attached hereto are disallowed and expunged in their entirety.

                                        ### End of Order ###

PREPARED AND SUBMITTED BY:


By: /s/ C. Ashley Ellis
       C. Ashley Ellis (TX 00794824)
       Emily F. Shanks (TX 24110350)
       FOLEY & LARDNER LLP
       2021 McKinney Avenue, Suite 1600
       Dallas, Texas 75201
       Telephone: (214) 999-3000
       Facsimile: (214) 999-4667

COUNSEL TO THE REAGOR-DYKES
AUTO GROUP CREDITORS LIQUIDATING TRUST,
SUCCESSOR IN INTEREST TO DEBTORS
REAGOR-DYKES MOTORS, LP e t al.

ORDER GRANTING OMNIBUS OBJECTION TO CLAIMS                                                               2
4872-0509-4410.1
                                                                         EXHIBIT A

                                        REAGOR-DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                       OMNIBUS OBJECTION #7

                                                              PROOF OF   DATE PROOF                                                               ALLOWED
                                                DEBTOR CASE                            SCHEDULED   SCHEDULED    PROOF OF    PROOF OF CLAIM
                     NAME OF CLAIMANT                           CLAIM     OF CLAIM                                                             AMOUNT OF CLAIM
                                                  NUMBER                                  TYPE      AMOUNT     CLAIM TYPE      AMOUNT
                                                               NUMBER       FILED                                                                  ,)$1<


ADVANCIAL FEDERAL CREDIT UNION                    18-50214      162        2/1/2019                             Secured            36,912.00                0.00


ADVANCIAL FEDERAL CREDIT UNION                    18-50214      163        2/1/2019                             Secured            71,464.41                0.00
                                                                                                                                                                                            Case 18-50214-rlj11




ADVANCIAL FEDERAL CREDIT UNION                    18-50214      164        2/1/2019                             Secured            31,471.50                0.00


ADVANCIAL FEDERAL CREDIT UNION                    18-50214      165        2/1/2019                             Secured            42,483.33                0.00



BANK OF THE WEST                                  18-50214       67       11/30/2018                            Secured           105,138.57                0.00


BANK OF THE WEST                                  18-50214       68       11/30/2018                            Secured           370,686.28                0.00


BANK OF THE WEST                                  18-50214       69       11/30/2018                            Secured            33,710.62                0.00


BANK OF THE WEST                                  18-50214       70       11/30/2018                            Secured           135,409.98                0.00
                                                                                                                                                                       Main Document




BANK OF THE WEST                                  18-50214       71       11/30/2018                           Gen Unsec            2,508.95                0.00


BANK OF THE WEST                                  18-50214       72       11/30/2018                           Gen Unsec            1,566.18                0.00


BANK OF THE WEST                                  18-50214       79       11/30/2018                            Secured            99,999.19                0.00



FIRST FINANCIAL BANK, N.A.                        18-50214       45       11/29/2018                            Secured            47,758.14                0.00
                                                                                                                                                                                        Page 3 of 4




FIRST FINANCIAL BANK, N.A.                        18-50214       46       10/29/2018                            Secured            29,563.33                0.00



LUBBOCK NATIONAL BANK                             18-50214      102       12/5/2018                             Secured             1,154.39                0.00


LUBBOCK NATIONAL BANK                             18-50215       35       12/5/2018                             Secured            56,933.21                0.00


LUBBOCK NATIONAL BANK                             18-50218     29 - A     12/5/2018                             Secured             5,761.34                0.00


LUBBOCK NATIONAL BANK                             18-50218     29 - B     12/5/2018                            Gen Unsec             661.34                 0.00


LUBBOCK NATIONAL BANK                             18-50219       27       12/5/2018                             Secured            58,066.50                0.00
                                                                                                                                                                   Doc 2465 Filed 01/28/22 Entered 01/28/22 12:33:00




LUBBOCK NATIONAL BANK                             18-50219       28       12/5/2018                             Secured              919.87                 0.00


LUBBOCK NATIONAL BANK                             18-50324       19       12/5/2018                             Secured             9,944.71                0.00
                                                                                                                                                                                            Desc




LUBBOCK NATIONAL BANK                             18-50324       20       12/5/2018                             Secured             9,539.12                0.00
                                                                          EXHIBIT A

                                         REAGOR-DYKES AUTO GROUP CREDITORS LIQUIDATING TRUST
                                                        OMNIBUS OBJECTION #7

                                                               PROOF OF   DATE PROOF
                                                 DEBTOR CASE                           SCHEDULED   SCHEDULED        PROOF OF    PROOF OF CLAIM         ALLOWED
                   NAME OF CLAIMANT                              CLAIM     OF CLAIM
                                                   NUMBER                                 TYPE      AMOUNT         CLAIM TYPE      AMOUNT           AMOUNT OF CLAIM
                                                                NUMBER       FILED

LUBBOCK NATIONAL BANK - FRANK HUEY                                                     Gen Unsec        5,860.27                                               0.00


LUBBOCK NATIONAL BANK - RAMON JOHNSTON                                                 Gen Unsec       49,875.00                                               0.00
                                                                                                                                                                                               Case 18-50214-rlj11




MUSA AUTO FINANCE, LLC                             18-50214     124 - A    12/5/2018                                Secured           139,143.02               0.00


MUSA AUTO FINANCE, LLC                             18-50214     124 - B    12/5/2018                               Gen Unsec          586,926.36               0.00


MUSA AUTO FINANCE, LLC                             18-50215       53       12/5/2018                               Gen Unsec           43,010.09               0.00


MUSA AUTO FINANCE, LLC                             18-50217       74       12/5/2018                               Gen Unsec           82,043.28               0.00


MUSA AUTO FINANCE, LLC                             15-50218       46       12/5/2018                               Gen Unsec           47,436.82               0.00


MUSA AUTO FINANCE, LLC                             18-50219       44       12/5/2018                               Gen Unsec           55,138.34               0.00
                                                                                                                                                                          Main Document




MUSA AUTO FINANCE, LLC                             18-50324     79 - A     3/28/2019                                Secured           139,143.02               0.00


MUSA AUTO FINANCE, LLC                             18-50324     79 - B     3/28/2019                               Gen Unsec          256,605.48               0.00



SOUTH PLAINS ELECTRIC COOPERATIVE, INC             18-50215       25       12/4/2018                                Secured              2,529.07              0.00


SOUTH PLAINS ELECTRIC COOPERATIVE, INC             18-50325       2        12/4/2018                                Secured              2,782.33              0.00
                                                                                                                                                                                           Page 4 of 4




                                                                            TOTALS                     55,735.27                     2,506,410.77              0.00
                                                                                                                                                                      Doc 2465 Filed 01/28/22 Entered 01/28/22 12:33:00
                                                                                                                                                                                               Desc
